                            UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

                                                              §
    In re:                                                    §   Chapter 11
                                                              §
                                                              §   Case No. 20-81688-CRJ11
    REMINGTON OUTDOOR COMPANY,                                §
    INC. et al.,1                                             §   Jointly Administered
                                                              §
                     Debtors.                                 §
                                                              §

                  MOTION OF THE SANDY HOOK FAMILIES,
               PURSUANT TO 11 U.S.C. §§ 105(a) AND 1102(a)(4), TO
      RECONSTITUTE THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

             Donna L. Soto, Ian and Nicole Hockley, David C. Wheeler, Mary A. D’Avino, Mark and

Jacqueline Barden, William D. Sherlach, Neil and Scarlett Lewis, Leonard Pozner and Gilles J.

Rousseau (the “Sandy Hook Families” or the “Families”), by and through their undersigned

counsel, hereby move (the “Motion”) for entry of an order under sections 105(a) and 1102 of title

11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”) directing the

Bankruptcy Administrator for the Northern District of Alabama to change the membership of the

official committee of unsecured creditors (the “Committee”) and appoint tort and/or wrongful

death claimants such as the Sandy Hook Families to the Committee in a manner that ensures their

adequate representation on the Committee. In support of the Motion, the Families cite to the

Declaration of Tazewell T. Shepard IV (the “Shepard Decl.”) attached as Exhibit A to the

Objection of the Sandy Hook Families to Debtors’ Motion for (I) an Order Establishing Bidding


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      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, as
      applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI Operating
      Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
      (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC
      (4655); Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744);
      and Outdoor Services, LLC (2405) (collectively, the “Debtors”). The Debtors’ corporate headquarters is located
      at 100 Electronics Blvd SW, Huntsville, Alabama 35824.




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Procedures and Granting Related Relief and (II) an Order or Orders Approving the Sale of the

Debtors’ Assets [Docket No. 243].

                                PRELIMINARY STATEMENT

       1.      The Sandy Hook Families lost their loved ones nearly eight years ago during one

of the most shocking instances of gun violence in the nation’s history, and they allege that the

Debtors’ marketing of the assault weapon used by the shooter played a role in the December 14,

2012 shooting. The Sandy Hook Families represent a substantial creditor constituency of the

Debtors, yet the Debtors have scrupulously avoided any mention of the facts or circumstances

surrounding the Sandy Hook Families’ claims against the Debtors, despite the fact that the viability

of the Families’ complaints against the Debtors was recently affirmed by the Connecticut Supreme

Court—a decision as to which the United States Supreme Court denied certiorari review.

       2.      The Debtors’ refusal to acknowledge the existence of the Sandy Hook Families or

the size and validity of their claims is no accident. During the Debtors’ prior chapter 11 case—a

prepackaged case that was confirmed in forty (40) days and in which unsecured claims were

unimpaired—the Sandy Hook Families were listed in the Debtors’ Official Form 204 filed

pursuant to Rule 1007(d) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”). See In re Remington Outdoor Co., Inc., No. 18-10684 (BLS), Docket No. 1 at 14–19

(Bankr. D. Del. March 25, 2018). What is more, when the Debtors commenced their first

chapter 11 cases, the Sandy Hook Families were appealing a trial court order dismissing their

complaint against the Debtors. Since then, the Connecticut Supreme Court reversed that dismissal,

affirming the viability of the Sandy Hook Families’ wrongful marketing claims against the

Debtors. Thus, the Sandy Hook Families’ claims against the Debtors are unquestionably stronger

today than they were in 2018. However, with the appointment of an unsecured creditors’


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committee inevitable in these cases, the Debtors omitted the Sandy Hook Families’ claims from

their Consolidated Creditor List (as defined below). We are left to infer that the Debtors are

attempting to ensure the Families are not represented by any estate fiduciary.

          3.   The Court may order that the Committee be reconstituted if “the change is

necessary to ensure adequate representation of creditors.” 11 U.S.C. § 1102(a)(4). To adequately

represent creditors, a committee must adequately represent the different creditor types, including

those groups of creditors whose interest may conflict, as courts have consistently found that

inclusion of disparate voices on a statutory creditors committee is beneficial to a debtor and its

estate.

          4.   Here, the Committee has no representation from any tort and/or wrongful death

claimants, including the Sandy Hook Families, although such claimants comprise one of the

Debtors’ most substantial creditor groups. It consists of nine (9) trade or marketing services

creditors, the Arkansas Economic Development Commission, and the Pension Benefit Guarantee

Corporation (“PBGC”). Therefore, the Committee does not adequately represent all creditors. A

survey of recent cases demonstrates that, in nearly every (if not every) chapter 11 case involving

high-profile alleged prepetition tort and/or wrongful death actions, tort and/or wrongful death

claimants are represented either on an unsecured creditors’ committee or through a separate

committee. Such precedent is followed even where, as in the Purdue cases, the Debtors dispute

their ultimate liability to the alleged victims, and where, as in the Insys cases, the Debtors did not

list the alleged victims in their Official Form 204. The Debtors’ purposeful exclusion of the Sandy

Hook Families on their Consolidated Creditor List is no reason to exclude them from being

adequately and proportionately represented on the Committee in these cases.




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       5.      The Sandy Hook Families do not, by this Motion, seek to reconstitute the

Committee such that it becomes a vehicle to advance their interests alone. Rather, the Sandy Hook

Families seek adequate and proportionate representation of tort and/or wrongful death claimants

such as themselves, consistent with the strictures of the Bankruptcy Code. Accordingly, and for

the reasons discussed below, the Court should grant the Motion.

                                 JURISDICTION AND VENUE

       6.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and the Court may

enter a final order consistent with Article III of the United States Constitution.

       7.      This Court has jurisdiction over the Bidding Procedures Motion and this Objection

pursuant to 28 U.S.C. §§ 157 and 1334.        This proceeding is a core proceeding pursuant to

28 U.S.C. § 157(b)(1), (b)(2)(A), (M), (N) and (O). Venue is proper in the Court pursuant to

28 U.S.C. § 1408 and 1409(a). The Court may enter a final order consistent with Article III of the

United States Constitution, and the Sandy Hook Families consent to entry of a final order by this

Court solely with respect to this Motion. For the avoidance of doubt, the Sandy Hook Families do

not consent to the jurisdiction of this Court over any of their claims relating to the Sandy Hook

Wrongful Death Action.

                           RELEVANT FACTUAL BACKGROUND

       A.      The Sandy Hook Families’ Actions Against Debtors

       8.      On December 14, 2012, the Sandy Hook Families lost their loved ones, some as

young as six years old, in a school shooting perpetrated with an AR-15 made and marketed by the

Debtors. On December 13, 2014, the Sandy Hook Families brought wrongful death claims against




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the Debtors on behalf of those loved ones in Connecticut state court (the “Sandy Hook Wrongful

Death Action”).

          9.    The Sandy Hook Families seek justice for their loved ones and seek to hold the

Debtors accountable for its role in their deaths. They allege that the Debtors promoted the use of

civilian assault rifles for offensive, military-style attack missions, and that this marketing

technique played a causal role in the shooting at Sandy Hook Elementary School.

          10.   On March 19, 2019, the Connecticut Supreme Court held that the Sandy Hook

Families’ wrongful marketing claims state valid causes of action under Connecticut law and

ordered that the wrongful death claims proceed to discovery and trial. See Soto v. Bushmaster

Firearms Int’l, LLC, 202 A.3d 262, 273 (Conn. 2019), cert. denied sub nom. Remington Arms Co.,

LLC v. Soto, 140 S. Ct. 513; (Shepard Decl. Ex. B.). As the Connecticut Supreme Court observed,

“[t]he most directly foreseeable harm associated with” the alleged wrongful marketing claims “is

that innocent third parties could be shot as a result. The decedents are the ones who got shot.” Id.

at 291.

          11.   On November 12, 2019, the United States Supreme Court denied the Debtors’

petition for a writ of certiorari challenging that decision. See Remington Arms Co., LLC v. Soto,

140 S. Ct. 513 (2019). That same day, the Connecticut trial court presiding over the Sandy Hook

Wrongful Death Action scheduled the case for a status conference on December 4, 2020. (Shepard

Decl. Ex. O). The status conference ultimately took place on December 11, 2020.

          12.   Within weeks of exhausting their avenues of appellate review and facing discovery

and an eventual trial, on December 2, 2019, the Debtors began exploring strategic alternatives to

sell their businesses, which ultimately led to the commencement of these cases and the Debtors’

proposed sale free and clear of the Sandy Hook liabilities. (D’Arcy Decl. ¶ 48.)

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         13.     There is also no question that the Committee, as it is currently constituted, has no

incentive to consider the interests of tort and other wrongful death claimants such as the Sandy

Hook Families. Unlike the current members of the Committee (as defined below), who will be

primarily interested in the continuation of the Debtors’ businesses with as little interruption as

possible, the Sandy Hook Families are focused on fully prosecuting claims against the Debtors.

         14.     Not only are tort and wrongful death claimants interests in these cases unique when

compared to the current Committee members, their claims are substantial. Courts and Connecticut

juries routinely award damages in the millions of dollars in cases involving the loss of human life,

such as the Sandy Hook Wrongful Death Action.2 In such cases, damages are intended to account

for lost enjoyment of life and lost earnings—in this case, across all decedents, totaling hundreds

of years—and compensate for the terror, pain, and suffering these children and educators endured

just prior to their deaths while a shooter armed with an AR-15 roamed their elementary school

halls.

         15.     Here, the Sandy Hook Families’ damages may be significantly increased due to the

number of victims, their ages, and the nature of the Debtors’ culpability. The Debtors surely know

this—they are represented in the wrongful death cases by multiple law firms and have paid them

(according only to the Debtors’ filings in connection with the commencement of these cases)3 over

a million dollars in fees to defend the Sandy Hook Wrongful Death Action and filed dozens of


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    See, e.g., Regina Canty as Adm’x of the Estate of Shamaia L. Smith v. Kenneth J. Otto, Sr., No. HHD-CV07-
    5010481-S, 2013 Jury Verdicts LEXIS 14693 (Nov. 18, 2013) ($9,158,233 award); Ahmed Oadeh, Adm’r of the
    Estate of Fira Oadeh v. Maria Fagan and Kenneth Fagan, Pers. Representatives of the Estate of Timothy E. Fagan,
    No. CV13-6046339-S, 2016 Jury Verdicts LEXIS 5078 (Apr. 25, 2016) ($7,767,046 award); Demetria Rogers as
    Adm’x of the Estate of William Rogers, Jr. v. American Chair Car Servs. Inc. and Herbert Perry, No. CV03-
    0402592-S, 2006 Jury Verdicts LEXIS 45406 (Feb. 17, 2006) ($3,200,000 award); Rebecca Iannantuoni,
    Successor Adm’x of the Estate of Alan E. Jarecki, Deceased v. Catherine M. Florio, CV11-6024700-S (Conn.
    Super. Apr. 22, 2016) ($12,032,500 award); Morrin v. Koplin, UWY-CV11-6012598-S 373 (Conn. Super. Jan.
    1, 2014) ($8,008,500 award). (Shepard Decl. Ex. F–J.)
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    See In re Remington Outdoor Co., Inc., Docket No. 4 at 1, No. 20-81688-CRJ11.
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procedural and discovery motions to obstruct the progress of the case. In addition, when the

Debtors commenced these chapter 11 cases, the parties had been engaged in discovery for nearly

ten (10) months. They exchanged thousands of documents and the Sandy Hook Families prevailed

in multiple discovery disputes. Six (6) depositions have been taken, with two (2) more scheduled

(but then stayed by these bankruptcy cases) for the week of August 3, 2020. A trial date was set

for September 2021. (Shepard Decl. Ex. N)

       B.      Commencement of These Chapter 11 Cases and Appointment of the
               Committee

       16.     On July 27, 2020 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code, thereby commencing these chapter 11 cases and

immediately staying the Sandy Hook Wrongful Death Action.

       17.     Along with their petitions, the Debtors filed a consolidated list of the forty (40)

largest unsecured claims in these cases. [Docket No. 4] (the “Consolidated Creditor List”). The

Consolidated Creditor List includes one (1) contingent and unliquidated claim (the Pension Benefit

Guaranty Corp. (the “PBGC”); five (5) unliquidated claims (including the PBGC’s), four of which

arise under “Development Agreements”; and thirty-five (35) Trade, Professional Services and

Marketing Services Claims ranging between approximately $151,000 and $1.83 million. The

Sandy Hook Families’ claims were not listed on the Consolidated Creditor List.

       18.     The Debtors’ omission of the Sandy Hook Families’ claims was no oversight. In

the Debtors’ 2018 bankruptcy, the Debtors included the Sandy Hook Families’ in their

consolidated creditor list, despite the fact that the Sandy Hook Families were, at that point,

appealing the dismissal of their claims. See In re Remington Outdoor Co., Inc., Docket No. 1 at

184, No. 18-10684 (BLS) (Bankr. D. Del.). Yet now, after the Sandy Hook Families successful



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appeal restoring their claims, and with discovery proceeding and the claims set for trial, the

Debtors omitted the Sandy Hook Families from their Consolidated Creditor List.

        19.      There is a clear rationale for the Debtors’ decision: since the Debtors are pursuing

an expedited sale of substantially all of their assets free and clear of certain claims and liabilities,

it is to their advantage if they can deprive the Sandy Hook Families of a meaningful formal role in

these chapter 11 cases and ensure their voices and resources are diminished while the Debtors try

to jettison a notorious and potentially massive liability.

        20.      On August 6, 2020, the Bankruptcy Administrator for the Northern District of

Alabama (the “Bankruptcy Administrator”) filed a notice of appointment of an official

committee of unsecured creditors (the “Committee”) [Docket No. 217]. The Committee, which

the Bankruptcy Administrator acknowledged was formed based solely on the information provided

by the Debtors in the Consolidated Creditor List,4 consists of eleven (11) members, including the

PBGC, who holds a contingent and unliquidated claim, the Arkansas Economic Development

Commission, whose claim is unliquidated, and nine (9) creditors with Trade or Marketing Services

claims ranging from approximately $214,000 to $1.8 million.

                                                 ARGUMENT

        21.      The Committee, as currently constituted, does not adequately represent the

Debtors’ creditors, and the Court should order the Bankruptcy Administrator to change the

membership of the Committee to ensure that the Sandy Hook Families are adequately represented.

        22.      Section 1102(a)(4) of the Bankruptcy Code provides that “the court may order the

[Bankruptcy Administrator] to change the membership of a committee . . . if the court determines


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    See Aug. 6, 2020 Hr’g Tr. at 11:6–21 (stating that “what [the Bankruptcy Administrator has done] is . . . used the
    debtors’ list of their top 40 in accordance with the court order that allowed a consolidated Committee and task
    our office with soliciting and forming that Committee.”)
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that      the    change      is    necessary     to    ensure     adequate      representation      of    creditors.”

11 U.S.C. § 1102(a)(4). Upon a motion to reconstitute the Committee, the Court “must necessarily

conduct an independent review of whether there is adequate representation by an existing

committee.” See In re Enron Corp., 279 B.R. 671, 684 (Bankr. S.D.N.Y. 2002). Accordingly, the

Court reviews the Bankruptcy Administrator’s appointment of existing Committee members de

novo. See id.; In re Park W. Circle Realty, LLC, 2010 WL 3219531, at *2 (Bankr. S.D.N.Y. Aug.

11, 2010).

           23.      When determining whether to change the membership of a committee under section

1102(a)(4), courts consider the following factors:

                             (a)      the ability of the committee to function;
                             (b)      the nature of the case;
                             (c)      the standing and desires of the various constituencies;
                             (d)      the ability of creditors to participate in the case even without an
                                      official committee and the potential to recover expenses pursuant to
                                      section 503(b);
                             (e)      whether different classes may be treated differently under a plan and
                                      need representation;
                             (f)      the motivation of the movants;
                             (g)      the delay and additional cost of granting the motion;
                             (h)      the point in the proceeding when the motion is made;
                             (i)      the tasks the committee is to perform; and
                             (j)      any other relevant factors.

See Park W., 2010 WL 3219531, at *2; Dana Corp., 344 B.R. 35, 38 (Bankr. S.D.N.Y. 2006);

Enron, 279 B.R. at 685.5 No one factor is dispositive, and courts should apply the factors on a

case-by-case basis. See Dana Corp., 344 B.R. at 38 (citing In re Kalvar Microfilm, 195 B.R. 599,

601 (Bankr. D. Del. 1996)).



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       Courts use the same factors to determine whether to appoint an additional official committee under section
       1102(a)(2) of the Bankruptcy Code, which also requires a finding of lack of “adequate representation.” See Park
       W., 2010 WL 3219531, n.4 (“[T]he principle and analysis with respect to ‘adequate representation’ [under section
       1102(a)(2)] are applicable to the considerations of that term as it applies under § 1102(a)(4).”). Accordingly,
       courts cite interchangeably to cases interpreting both sections of the Bankruptcy Code.
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       24.     In synthesizing the above factors, courts often “employ a two-step process.” In re

Residential Capital, LLC, 480 B.R. 550, 557 (Bankr. S.D.N.Y. 2012). First, using a subset of the

above factors, courts determine whether the movant “is adequately represented by an existing

committee.” Mirant Ams. Energy Mktg., L.P. v. Official Comm. of Unsecured Creditors of Enron

Corp., 2003 WL 22327118, at *4 (S.D.N.Y. Oct. 10, 2003). “If a court finds inadequate

representation, it will then determine whether it should exercise its discretion under the particular

circumstances of the case,” using certain of the factors outlined above. Id.; see also In re Dewey

& LeBoeuf LLP, 2012 WL 5985325, at *3 (Bankr. S.D.N.Y. Nov. 29, 2012) (“First, a court

determines whether the appointment of an additional committee is necessary to assure the movants

are adequately represented . . . . Second, if the answer to the first question is ‘yes,’ then the court

must decide whether it should exercise its discretion and order such appointment.”).

I.     Tort and Wrongful Death Claimants Are Not Adequately Represented on the
       Committee

       25.     Tort and wrongful death claimants such as the Sandy Hook Families are not

represented on the Committee, and neither are their interests. Therefore, the Committee does not

adequately represent the Debtors’ creditors. The Committee, as currently constituted, consists

almost entirely of trade creditors and other entities whose primary source of recovery (assuming

the Debtors’ assets are sold in a section 363 sale) will be the purchaser’s assumption of their

contracts and/or the continuation of their business relationship with the purchaser of the Debtors’

assets. Tort and wrongful death claimants such as the Sandy Hook Families, however, are

differently situated. Given the nature of such claims and the likelihood that the Debtors will seek

to sell their assets free and clear of any claims associated with such liabilities, such claimants’

interests in these cases are materially different than the existing Committee members. The Sandy

Hook Families, for example, are not only focused the integrity of the chapter 11 process, but also
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on ensuring that their claims against the Debtors, the Debtors’ insurance policies and potentially

the Debtors’ directors and officers are preserved to the greatest extent possible so that the Sandy

Hook Wrongful Death Action can ultimately be tried in a full and fair manner. Under these

circumstances, it cannot be seriously disputed that the omission of tort and wrongful death

claimants like the Sandy Hook Families from the Committee is an error that must be rectified.

       26.     Exclusion of claimants such as the Sandy Hook Families from the Committee also

appears to be without recent precedent: in nearly every chapter 11 case involving substantial

alleged tort and/or wrongful death claims, claimants have either served on the official creditors’

committee, or the court or United States Trustee has constituted separate committees dedicated to

representing their interests, including where the debtor disputed its liability to them, and even

where the claimants were not included on the debtor’s list of top unsecured creditors pursuant to

Bankruptcy Rule 1007(d). See, e.g., In re TK Holdings, Inc., No. 17-11375 (BLS), Docket Nos.

164 & 167 (Bankr. D. Del. 2017) (appointing one committee of unsecured creditors and one

committee of unsecured tort claimant creditors); In re The Weinstein Co. Holdings LLC, No. 18-

10601 (MFW), Docket No. 122 (Bankr. D. Del. 2018) (appointing five-member unsecured

creditors’ committee consisting of two sexual abuse survivors); In re USA Gymnastics, No. 18-

09108 (RLM), Docket No. 97 (Bankr. S.D. Ind. 2018) (appointing one committee of sexual abuse

survivors); In re Insys Therapeutics, Inc., No. 19-11292 (KG), Docket No. 88 (Bankr. D. Del.

2019) (appointing nine-member unsecured creditors’ committee with five litigation claimants who

asserted claims ranging from medical negligence, fraud and misrepresentation, and none of whom

were listed in the debtors’ list of top unsecured creditors pursuant to Bankruptcy Rule 1007(d));

In re Purdue Pharma, L.P., No. 19-23649 (RDD), Docket No. 131 (Bankr. S.D.N.Y. 2019)

(appointing nine-member Creditors’ Committee consisting of four individuals impacted by the

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opioid crisis); In re Imerys Talc Am., Inc., 19-10289 (LSS), Docket Nos. 131 & 132 (Bankr. D.

Del. 2019) (appointing committee of unsecured creditors and one committee of unsecured tort

claimant creditors); In re Boy Scouts of Am., No. 20-10343 (LSS), Docket Nos. 141 & 142 (Bankr.

D. Del. 2020) (appointing committee of unsecured creditors and one committee of unsecured tort

claimant creditors).

       27.     Here, leaving the Sandy Hook Families off of the Debtors’ Consolidated Creditor

List has thus far succeeded in marginalizing the Sandy Hook Families; the Bankruptcy

Administrator constituted the Committee in admittedly sole reliance on the Consolidated Creditor

List, which has the effect of depriving a significant creditor constituency of the Debtors of proper

representation by an estate fiduciary. The Debtors’ conduct in this regard can and should be

rectified by granting the Motion.

       A.      Adequate Representation Requires That Different Types of Creditors Have a
               Voice on the Committee

       28.     An official creditors’ committee should be representative of a debtor’s different

kinds of creditors. “The formation of a creditors’ committee is purposely intended to represent the

necessarily different interests and concerns of the creditors it represents.” Enron, 279 B.R. at 685

(internal quotation mark omitted). Where, as here, the Committee simply excludes an entire

significant category of the Debtors’ creditors, section 1102(a)(4) of the Bankruptcy Code

authorizes the Court to order the reconstitution of the Committee.

       29.     Courts have articulated standards for what constitutes adequate representation. See

In re Dow Corning Corp., 194 B.R. 121, 141 (Bankr. E.D. Mich. 1996), rev’d on other grounds,

212 B.R. 258 (E.D. Mich. 1997). “[A]dequate representation exists through a single committee as

long as the diverse interests of the various creditor groups are represented on and have participated

in that committee.” In re Sharon Steel Corp., 100 B.R. 767, 777-78 (Bankr. W.D. Pa. 1989).
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“What is required is adequate representation of various creditor types,” and “[w]hat the Code

requires is that conflicting groups of creditors have a voice through adequate representation on a

Committee.” In re Hills Stores Co., 137 B.R. 4, 7 (Bankr. S.D.N.Y. 1992); see also In re Ne.

Dairy Co-op. Fed’n, Inc., 59 B.R. 531, 534 (Bankr. N.D.N.Y. 1986) (“[I]nclusion of entities with

differing reorganizational aspirations often are of benefit to the debtor.”). The guiding principle

in nearly every case is that adequate representation requires different types of creditors—and

creditors with conflicting interests in particular—on the committee. As the court noted in Dow

Corning:

                  For a particular group of creditors to be adequately represented by
                  an existing committee, it is not necessary for the committee to be an
                  exact reflection of that committee’s designated constituents. Instead,
                  adequate representation exists if the interests of that particular
                  group of creditors have a meaningful voice on the committee in
                  relation to their posture in the case.

194 B.R. at 141 (emphasis added); see also In re Garden Ridge Corp., 2005 WL 523129, at *3

(Bankr. D. Del. Mar. 2, 2005) (“[A]dequate representation exists through a single committee so

long as the diverse interests of the various creditor groups are represented on and have participated

in that committee.” (internal quotation marks and citations omitted)); In re Daig Corp., 17 B.R.

41, 43 (Bankr. D. Minn. 1981) (noting that creditors’ committee “is purposely intended to

represent the necessarily different interests and concerns of the creditors it represents” and “[t]here

is simply no other entity established by the Code to guard those interests”).6




6
    The various provisions of section 1102 of the Bankruptcy Code confirm that diverse interests must be represented
    on official committees. See 11 U.S.C. § 1102(b)(1) (recommending that an official committee of creditors “shall
    ordinarily consist of the persons, willing to serve, that hold the seven largest claims against the debtor of the kinds
    represented on such committee,” and contemplating appointment of a committee organized prepetition as the
    official committee “if such committee was fairly chosen and is representative of the different kinds of claims to
    be represented”) (emphasis added); id. § 1102(a)(2) (authorizing a court to order the appointment of additional
    official committees “if necessary to assure adequate representation of creditors”) (emphasis added).
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        30.     When the interests of “distinct” creditor groups are each represented on an official

committee by “active, competent, financially sophisticated and strong-willed representatives,”

then the ability of such members to “adjust their differences within the framework of the existing

Official Committee” will strengthen the prospect of consensual resolutions. Sharon Steel, 100

B.R. at 779.

        B.      The Committee Does Not Adequately Represent Tort and Wrongful Death
                Claimants

        31.     Tort and wrongful death claims like the Sandy Hook Families’ are substantial and

unique, and their claims are not represented by the Committee as it is currently constituted. The

size of the Sandy Hook Families’ claims is demonstrated by the fact that, in their prior bankruptcy

case, the Debtors listed the claims relating to the Sandy Hook Wrongful Death Action in their list

of top unsecured creditors pursuant to Bankruptcy Rule 1007(d).7 Yet, barely two years after the

effective date of the Debtors’ first prepackaged chapter 11 plan, having de-levered by

approximately $650 million since the commencement of their first chapter 11 case, and after the

Connecticut Supreme Court affirmed the validity of the Sandy Hook Wrongful Death Action, the

Debtors excluded the Sandy Hook Families from the Debtors’ Consolidated Creditor List. The

Sandy Hook Families’ claims are also unique when compared to the other Committee members’

claims: unlike every other Committee member, the Sandy Hook Families’ claims arise out of the

Debtors’ role in the mass shooting at Sandy Hook Elementary School. Put simply, it is common

sense that a Committee comprised entirely of the Debtors’ regular business counterparties cannot

adequately represent tort and/or wrongful death claimants such as the Sandy Hook Families.




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    See Sandy Hook Families’ (1) Objection to the Debtors’ List of Top 40 Unsecured Creditors and (2) Emergency
    Motion for a Status Conference ¶ 9 [Docket No. 192].
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       32.     Courts consider the numerous factors in determining whether a creditors’

committee adequately represents a particular group of creditors, which are discussed below. Not

surprisingly, each factor demonstrates that the Committee does not adequately represent tort and/or

wrongful death claimants such as the Sandy Hook Families.

               1.      The Composition of the Committee

       33.     Naturally, a “determination of whether there is proper balance, and thus adequate

representation, on a committee requires an awareness of the committee’s composition.” Dow

Corning, 194 B.R. at 142; see also In re Drexel Burnham Lambert Grp., Inc., 118 B.R. 209, 212

(Bankr. S.D.N.Y. 1990) (“The standard of adequate representation, however, lies not in the

uniqueness of a single claim but ‘in the nature of the case and the composition of the committee.’”).

The Bankruptcy Code does not “mandate [that] a committee must faithfully reproduce the exact

complexion of the creditor body”; what “is required is adequate representation of various creditor

types.” Hills Stores, 137 B.R. at 6-7; see also Park W., 2010 WL 3219531, at *4 (“Although

committees do not necessarily need to reflect the precise composition of the creditor body,

committees should adequately represent the various creditor types.”). Thus, the aim of the

Bankruptcy Administrator (and, if necessary, the Court) is to “strike a proper balance.” Mirant,

2003 WL 22327118, at *6 (internal quotation marks and citations omitted); Enron, 279 B.R. at

690.

       34.     Here, the Committee does not include any tort or wrongful death claimants like the

Sandy Hook Families—who the Debtors have previously acknowledged are among their most

significant unsecured creditors. Moreover, as discussed above, the Committee is currently made

up of creditors who are likely to be primarily interested in a continuing business relationship with

the purchaser of the Debtors’ assets, as well as the PBGC, which may not have any claim at all in


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these cases. Far from being balanced and representative of the Debtors’ different types of

creditors, the Committee represents solely the interests of those creditors that are most likely to

receive favored treatment.

       35.     Nor does the Committee even come close to “strik[ing] a proper balance.” Mirant,

2003 WL 22327118, at *64. Neither the Sandy Hook Families nor any other tort and/or wrongful

death claimants are represented at all on the Committee, yet their claims are substantial and are

also of an entirely different nature than the claims of existing Committee members.             The

discrepancy between tort and wrongful death claims and the claims of the Committee members is

exactly why, in almost every other chapter 11 cases involving serious pre-petition misconduct,

victims have either served on an official creditors’ committee or on a separate committee dedicated

to representing victims’ interests.

       36.     Absent adequate representation of the Sandy Hook Families, the Committee cannot

speak for all types of the Debtors’ creditors; rather, it can speak only for those favored creditors

the Debtors decided to list on their Consolidated Creditors List and who were selected to serve on

the Committee.

               2.      Whether Different Classes Will Be Treated Differently Under Plan

       37.     The “chief concern of adequacy of representation is whether it appears that different

classes of debt may be treated differently under a plan.” Dow Corning, 194 B.R. at 145 (citing

Drexel Burnham, 118 B.R. at 212). This concern is connected to the role that a creditors’

committee often plays in assisting the formulation of a plan of reorganization: if unsecured

creditors will be placed in different classes, then it is imperative that the creditors’ committee be

attuned to the different interests of those classes. Id.




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        38.      This “chief concern” is critically important in these cases and strongly supports

including tort and/or wrongful death claimants such as the Sandy Hook Families on the Committee.

As discussed above, the Committee currently consists of creditors whose primary interest is in

seeing their prepetition trade claims paid and/or in seeing the purchaser assume their contracts or

continue a business relationship with them.                 To the extent the Committee is involved in

negotiations around a 363 sale and/or chapter 11 plan, its lack of any of tort and/or wrongful death

claimants will render it unable to adequately take their interests into account. The Dow Corning

court’s statement in ordering physician creditors be added to the creditors committee applies with

equal force here: “since the posture of the physicians is so different from the other non-tort

unsecured creditors, it is likely that any plan will treat the claims differently. The [creditors’

committee] is in no position to negotiate for the physicians’ special treatment.” 194 B.R. at 145

(emphasis added).

        39.      Without representation of tort and/or wrongful death claimants such as the Sandy

Hook Families on the Committee, the Committee will be unable to engage in sale and/or plan

negotiations in a manner that adequately represents all unsecured creditors, including tort and

wrongful death claimants.

                 3.       The Standing and Desires of the Various Constituencies8

        40.      Although they share certain common overlapping interests, such as maximizing

value, the Debtors’ creditor constituencies have different interests and desires. The Sandy Hook

Families’ primary goals are to ensure the Debtors are held to account for their role in the deaths of


8
    Some courts interpret this factor as requiring an evaluation of the differing interests of creditors, see Dana, 344
    B.R. at 39, while other courts perform a more perfunctory review of whether the creditors have standing and
    whether other creditors support or oppose the relief sought, see Park W., 2010 WL 3219531, at *2. Since the
    Debtors have previously acknowledged the significance of the Sandy Hook Families’ claims in their previous
    chapter 11 filings, there is no principled basis for them to support excluding all Sandy Hook Families from serving
    on the Committee.
                                                         17


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their loved ones. That objective, of course, is entirely consistent with the primary objective of any

creditors’ committee, as it is accomplished by ensuring these cases are conducted in an honest,

transparent and fair manner that respects the various rights all of the Debtors’ differing

stakeholders, including tort and wrongful death claimants. As discussed, while the Sandy Hook

Families’ interests may diverge from the interests of the Debtors’ “ordinary course” creditors in

certain regards, that potential conflict is not a basis to exclude them from the Committee. To the

contrary, competing interests are to be expected on any creditors’ committee and the inclusion of

differing perspectives on one committee is a benefit, not a hindrance. “As in most Chapter 11

cases, there will be common interests among various groups of unsecured creditors. The inclusion

of such groups within one committee may facilitate the consensual resolution of the conflicting

priorities among the holders of unsecured claims and thereby facilitate the negotiation of a

consensual plan.” Hills Stores, 137 B.R. at 7; see also Garden Ridge, 2005 WL 523129, at *4 (“A

committee of unsecured creditors often consists of creditors with a variety of viewpoints, and thus

conflicts are not uncommon, especially when creditors are acting individually to protect their

separate business interests.”).

               4.      The Nature of the Case

       41.     Courts evaluating the nature of the case often consider the size of the creditor

requesting relief relative to the overall composition of the creditor body. See, e.g., Park W., 2010

WL 3219531, at *3 (noting the “size of Constantine Cannon’s claim relative to the claims of other

unsecured creditors in these cases”); In re Budd Co., 512 B.R. 910, 913 (Bankr. N.D. Ill. 2014)

(comparing size of asbestos-related claims to total liabilities of debtor). The Debtors have stated

they omitted the Sandy Hook Families’ claims from the Consolidated Creditor List because the

Families only sought damages in excess of $15,000 in the Sandy Hook Wrongful Death Action,


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claiming “that does not rise to the level of listing them on the top 40 unsecured creditor list.” Aug.

6, 2020 Hr’g Tr. at 9:4–21.

        42.      The Debtors’ stated rationale for why they omitted the Families from their

Consolidated Creditor List does not hold up to even modest scrutiny. As the Debtors and their

counsel are well aware, the Families’ allegation of damages is purely jurisdictional in nature, and

it has nothing to do with the Families’ actual belief as to the Debtors’ liability stemming from their

role in the mass shooting at Sandy Hook Elementary School.9 The Debtors’ actions in their prior

chapter 11 cases completely undermine their stated rationale. As previously explained, the Debtors

listed the Sandy Hook Families among their largest unsecured creditors, despite the complaint that

was operative at the time having the same jurisdictional allegations as to damages. (Shepard Decl.

Ex. L). What’s more, the Sandy Hook Families’ claims have become stronger since then, as their

viability has been affirmed by the Connecticut Supreme Court. (Shepard Decl. Ex. B). Without a

coherent reason for omitting the Sandy Hook Families from their Consolidated Creditor List, the

rational conclusion is that the Debtors’ omission was motivated by an effort to minimize the Sandy

Hook Families’ ability to participate in these chapter 11 cases.

        43.      Courts also consider the circumstances surrounding a debtor’s filing for bankruptcy

when evaluating whether creditor representation is adequate. As discussed above, it is reasonable

to infer, based on the Debtors’ conduct in their prior chapter 11 cases and based on the progress

the Families made in prosecuting the Sandy Hook Wrongful Death Action, that the Sandy Hook

Wrongful Death Action was a significant factor in the Debtors’ decision to commence these

chapter 11 cases. It is also reasonable to conclude that the cost and expense of litigating the Sandy


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    If the Debtors actually believed the Families were only seeking approximately $15,000 per family, there would
    be no rational way to justify the vast sums of money the Debtors have spent defending the Sandy Hook Wrongful
    Death Action.
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Hook Wrongful Death Action, and liability in connection therewith, was a motivating factor

behind the Debtors’ proposed section 363 sale process.

         44.     As discussed above, the Debtors began exploring their strategic alternatives shortly

after the Connecticut Supreme Court ruled that the Sandy Hook Wrongful Death Action must

proceed. (D’Arcy Decl. ¶ 47). And when the Debtors commenced these Chapter 11 Cases, the

parties had been engaged in discovery for nearly ten (10) months. During that time, they had

exchanged thousands of documents and the Sandy Hook Families prevailed in multiple discovery

disputes. Six (6) depositions had been taken, and two (2) more were scheduled for the week of

August 3, 2020. A trial date was set for September 2021. (Shepard Decl. Ex. N). While the

Debtors’ “first day” pleadings steadfastly avoid any mention of the Sandy Hook Wrongful Death

Action, despite listing them among the Debtors’ most significant unsecured creditors in their prior

chapter 11 cases, that omission cannot negate the inference that the Sandy Hook Wrongful Death

Action was a significant factor in motivating them to commence these cases, and potentially in

shaping the Debtors chapter 11 strategy.10 Unlike the Debtors, the Court and the Bankruptcy

Administrator should not ignore claimants like the Sandy Hook Families, but should give them the

opportunity to fully participate in this process with the benefits afforded by representation on the

Committee.

                 5.       The Ability of the Committee to Function Properly and Tasks the
                          Committee is to Perform

         45.     “The final factor to consider when determining whether a committee is adequately

representative is the ability of the committee to properly perform its functions. The word



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     See Scott Cohn, Gun Maker Remington Files for Bankruptcy for the Second Time, CNBC (Jul. 28 2020, 10:32
     A.M.) https://www.cnbc.com/2020/07/28/gun-maker-remington-files-for-bankruptcy-for-the-second-time.html;
     Gillian Friedman, One of America’s Oldest Gun Makers files for Bankruptcy for 2nd Time, New York Times (Jul.
     28, 2020) https://www.nytimes.com/2020/07/28/business/remington-bankruptcy-guns.html.
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‘function’ obviously refers to the committee’s role in a chapter 11 proceeding as set forth in

§ 1103(c).” Dow Corning, 194 B.R. at 142. In light of the role the Committee might play in these

cases, its current composition will hinder its ability to function properly. For example, the

Committee will inevitably seek to play a significant role in the Debtors’ proposed sale process and

in formulating and negotiating a chapter 11 plan, and its current composition impairs its ability to

properly function for the benefit of all significant unsecured creditors in either posture.

       46.     In connection with a potential sale, the current members of the Committee will be

focused almost entirely on ensuring their relationships continue with the purchaser of the Debtors’

assets, and potentially that the purchaser assumes their ordinary course business-related liabilities,

such as the PBGC’s. Similarly, under a chapter 11 plan, the Committee will be focused on

maximizing the recovery to unsecured creditors in absolute dollars. Tort and wrongful death

claimants, however, have concerns that are much different and more expansive. They will be

focused on ensuring the cases are conducted transparently and fairly; on ensuring any purchaser

of the Debtors’ assets assumes the Debtors’ accountability in connection with their underlying tort

or wrongful death actions, or that adequate provision is made to ensure that the Sandy Hook

Wrongful Death Action, among others, is litigated to conclusion. They will also be focused on

ensuring the scope of the release and exculpation clauses are narrow in connection with a plan,

and on ensuring that the Debtors’ insurance coverage is available to satisfy liabilities arising out

of their claims. As it is currently constituted, the Committee shares none of these concerns, and

there is no reason to think they will do anything to advance tort or wrongful death claimants’

interests unless they are actually represented on the Committee.

       47.     Finally, even if the Committee is “functioning” as currently constituted, that does

not demonstrate that the Committee is adequately representing tort or wrongful death claimants.

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                The problem is that a committee may function just fine, reaching
                consensus on all issues, and still not adequately represent a
                particular group of creditors. This can occur, for instance, if the
                committee is so dominated by one group of creditors that a
                separate group has virtually no say in the decision-making
                process. Consequently, courts look to see whether conflicts of
                interest on the committee effectively disenfranchise particular
                groups of creditors.

Enron, 279 B.R. at 686 (emphasis added) (internal quotation marks omitted); Dow Corning, 194

B.R. at 142 (same); see also Park W., 2010 WL 3219531, at *3 (“[A] functioning committee,

alone, does not necessarily ensure that all creditors groups are adequately represented.”). Tort and

wrongful death claimants do not have any say in the decision-making process of the Committee

and are not adequately represented by the Committee.

II.     The Court Should Exercise Its Discretion to Reconstitute the Committee to Include
        Substantial Tort and Wrongful Death Claimant Participation

        48.     “If a court finds inadequate representation, it will then determine whether it should

exercise its discretion under the particular circumstances of the case.”           Mirant, 2003 WL

22327118, at *4. To determine whether, upon a finding of inadequate representation, a court

should exercise its discretion to reconstitute a committee, courts consider the following factors,

each of which supports granting tort and other wrongful death claimants representation on the

Committee.

        49.     First, delay and additional cost to reconstitute the Committee will be de minimis.

The Committee was formed [less than one week] ago—on August 6, 2020, and has only recently

hired advisers. Because these cases were so recently commenced and the Committee so recently

formed, there will be no delay or additional cost. As previously described, the Sandy Hook

Families have been engaged in lengthy and hard-fought litigation with the Debtors for years. They

are familiar with the Debtors’ business, their practices and their state of affairs. It is thus possible


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to reconstitute the Committee with members that are very familiar with these cases and will

therefore expedite the Committee’s work. See Park W., 2010 WL 3219531, at *4 (finding that

creditor’s knowledge of the debtor’s business would benefit the committee).

        50.     Second, the Sandy Hook Families can participate in these cases in their own right,

but the Debtors’ behavior to date demonstrates their complete unwillingness to engage

meaningfully with the Sandy Hook Families unless they are forced to do so. To date, the Sandy

Hook Families are receiving pro bono counsel in these chapter 11 cases; their ability to obtain pro

bono legal services cannot justify excluding them from membership on the Committee. Including

them as members on the Committee will break this logjam and force the Debtors and other parties

in interest to finally recognize that one of the largest (if not the largest) creditor constituency of a

manufacturer of assault weapons is a group of tort and wrongful death claimants.

        51.     Third, the Sandy Hook Families seek to reconstitute the Committee so that it can

function in a manner that is consistent with that which is intended by the Bankruptcy Code. A

Committee that reflects the views of different types of creditors will be better able to function and

better motivated to maximize the assets available for distribution. See Garden Ridge, 2005 WL

523129, at *3 (“The chief purpose of an official committee is to maximize distribution to this

class.”). The Sandy Hook Families’ significant economic interest in these cases will ensure they

invest significant time and resources into assisting the Committee in fulfilling its statutory duties.

See Park W., 2010 WL 3219531, at *4 (“[W]ith such a substantial claim, [creditor] has a greater

incentive to invest time and effort to make a positive contribution to the Committee.”).

III.    The Court Should, in the Alternative, Appoint an Additional Committee of Tort
        Claimants Under Section 1102(a)(2) of the Bankruptcy Code

        52.     If the Court finds that the tort and/or wrongful death claimants like the Sandy Hook

Families are not adequately represented by the Committee but should not be appointed as members
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of the Committee, the Sandy Hook Families respectfully request that the Court follow the

precedent set by the bankruptcy courts in the Takata, USA Gymnastics, Purdue, Imerys, and Boy

Scouts chapter 11 cases and appoint a separate official committee of tort claimants pursuant to

section 1102(a)(2) of the Bankruptcy Code. Section 1102(a)(2) of the Bankruptcy Code provides

that “[o]n request of a party in interest, the court may order the appointment of additional

committees of creditors or of equity security holders if necessary to assure adequate

representation of creditors . . . .” 11 U.S.C. § 1102(a)(2) (emphasis added). The standard to

appoint an additional committee under section 1102(a)(2) is the same as the standard for

reconstituting an existing committee under section 1102(a)(4). Park W., 2010 WL 3219531, n.6.

                                        CONCLUSION

       53.     For the foregoing reasons, the Sandy Hook Families respectfully requests that the

Court enter an order, substantially in the form attached hereto as Exhibit A, (a) directing the

Bankruptcy Administrator to change the membership of the Committee pursuant to sections 105(a)

and 1102(a)(4) of the Bankruptcy Code and appoint tort claimants to the Committee in a manner

that is commensurate to their interests in these chapter 11 cases and that ensures adequate

representation of Sandy Hook Families on the Committee, (b) in the alternative, appointing an

additional official committee of tort claimants pursuant to sections 105(a) and 1102(a)(2) of the

Bankruptcy Code, and (c) granting such other and further relief as this Court deems fair and just.




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         Huntsville, Alabama


                                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       This is to certify that I have this the 12th day of August, 2020 served the foregoing pleading
upon the Debtor’s 40 largest unsecured creditors, all counsel of record requesting notice, all other
persons requesting notice, and the Office of the Bankruptcy Administrator by electronic service
through the Court’s CM/ECF system and/or by placing a copy of same in the United States Mail,
postage pre-paid.


                                                  /s/ Tazewell T. Shepard IV
                                                  Tazewell T. Shepard IV




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